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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 UNITED STATES OF AMERICA                     §
                                              §
 v.                                           §           No. 4:17CR87
                                              §           Judge Crone
 MOHOMMAD HASNAIN ALI                         §

                               NOTICE OF PLEA AGREEMENT

         The government and the defendant, Mohommad Hasnain Ali, have entered into

 an agreement in relation to the pending charges.

                                                    Respectfully submitted,

                                                    BRIT FEATHERSTON
                                                    Acting United States Attorney

                                                    /s/ Camelia Lopez
                                                    CAMELIA LOPEZ
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                                 CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was served electronically via the
 CM/ECF system on this 1st day of December, 2017.

                                                    /s/ Camelia Lopez
                                                    CAMELIA LOPEZ




 Notice of Plea Agreement
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